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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:08-CR-0544 GEB
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER
14   MITCHELL CHANG, AND                                  DATE: January 17, 2014
     KELLY LIANG,                                         TIME: 9:00 a.m.
15                                                        COURT: Hon. Garland E. Burrell, Jr.
                                   Defendants.
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17
                                                  STIPULATION
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            1.       By previous order, this matter was set for status on January 17, 2014.
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            2.       By this stipulation, defendants now move to continue the status conference until February
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     28, 2014, and to exclude time between January 17, 2014, and February 28, 2014, under Local Code T4.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The government has represented that the discovery associated with this case
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            includes 898 pages of batestamped investigative reports and other documents in electronic form.
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            All of this discovery has been either produced directly to counsel and/or made available for
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            inspection and copying.
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                     b)     Counsel for defendants desire additional time to consult with their clients,
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            continue to review discovery for this matter and discuss potential resolutions with their
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            respective clients.

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        1
30    FINDINGS AND ORDER
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 1                   c)      Counsel for defendants believe that failure to grant the above-requested

 2           continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3           into account the exercise of due diligence.

 4                   d)      The government does not object to the continuance.

 5                   e)      Based on the above-stated findings, the ends of justice served by continuing the

 6           case as requested outweigh the interest of the public and the defendant in a trial within the

 7           original date prescribed by the Speedy Trial Act.

 8                   f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9           et seq., within which trial must commence, the time period of January 17, 2014 to February 28,

10           2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11           T4] because it results from a continuance granted by the Court at defendants’ request on the basis

12           of the Court’s finding that the ends of justice served by taking such action outweigh the best

13           interest of the public and the defendant in a speedy trial.

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        STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30      FINDINGS AND ORDER
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: January 14, 2014                                   BENJAMIN B. WAGNER
 6                                                             United States Attorney
 7
                                                               /s/ OLUSERE OLOWOYEYE
 8                                                             OLUSERE OLOWOYEYE
                                                               Assistant United States Attorney
 9
10 Dated: January 14, 2014                                     /s/ DONALD MASUDA by email approval
                                                               DONALD MASUDA
11
                                                               Counsel for Defendant
12                                                             MITCHELL CHANG

13
     Dated: January 14, 2014                                   /s/ KRESTA DALY by email approval
14                                                             KRESTA DALY
                                                               Counsel for Defendant
15                                                             KELLY LIANG
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                                             FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED.
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            Dated: January 15, 2014
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         3
30    FINDINGS AND ORDER
